Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 1 of 8




                      Exhibit 19
                      Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 2 of 8



Message
From:                  Rachel Rogers
Sent:                  10/16/2.015 12:34:46 PM
To:                    Gleason, Angela [ange\a.gleason@yale.edu)
Subject:               Re: reaching out



Thank you so much              --I'll   see you   in   a bit I

On Fri, Oct 16, 2.015 at 12.:33 PM, Gleason, Angela <angel...nlenson(cilyale.edu> wrote:


Once you come through the front gate, walk aroLtnd to the side entrance on the left, there's a common room just off the
first floor ~mtryway,




Best,

Angie




From: Rachel Rogers
Sent: Friday, October 16, 2015 12:31 PM



To: Gleason, Angel<~
Subject: Re : reaching out




That would be perfect-- where in Swing Space'?




On Fri, Oct 16, 2015            <Jt 12.:2.9   PM, Gleason, Angela <ang_eJ~.:&l~asg.!}_@.~I.P. . edu> wrote:

      Rachel Rogers
Hi              - I' l l be in Swing Space at lpm. Is there any chance we co\Jid meet there '?




Best,

Angle
                                                                                                              ' pLAJNTIFF'S
                                                                                                              ! EXHIBIT NO.
                                                                                                                                     J
From:          Rachel Rogers
                                                                                                              ~
                                                                                                              ffi OA11!:
                                                                                                              0..
                                                                                                                         n.-1), -_u,
                                                                                                              § FOR IDENTifiCAllON

                                                                                                                             Rfrm.
Sent: Friday, October 16, 2015 12:18 PM
                        Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 3 of 8




To: Gleason, Angela
Subject: Re: reaching out




If 1:00 today works, that would be great! My friend won't be able to come, but in light of our conversation last night 1
wanted to run through her options with you today.




Thanks,




On Fri, Oct 16, 2015 at 12:07 PM, Gleason, Angela <ang~ l o:u~!~2m@ynle . du> wrote:

     Rachel Rogers
Hi             ·- many thanks for your email. I can be available Monday 8~11am and 1-3pm. If you think your friend would like
to meet sMner, I can meet 1~1:30 today.




Best,

Angie




              Rachel Rogers
From:
Sent: Friday, October 16, 2015 11:52 AM



To: Gleason, Angela
Subject: Re: reaching out




Good morning!




Sorry It's been so long since our last exchange, but I finally had a (very productive) chat with my friend last night. She's
been having a hard time the past few weeks and went to SHARE yesterday. I mentioned that J had met with you earlier
this year and you would be another great resource If she was looking for someone to talk to.
                      Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 4 of 8



I know this may be short notice, but Is there a time you're able to meet, either today or early next week? My friend had
o few concerns about coming forward and speaking with you, <lnd asked that I do so first.




Thanks so much,

Rachel Rogers




On Thu, Sep 2.4, 2.015 at 11;24 AM, Gleason, Angela <ilng_tlli!_.gle<ISo n@'(!:!le. du> wrote:

          Rachel Rogers
Dear                 - thanks again for meeting with rne Monday. I'm writing tt1 follow up on our dlsctJ.sslon. The very serious
nature of the report worries rne. I was hoping you might meet with me again at ymJr earliest convenience, with or
without your friend. I don't mean to pressure you, and I hope ymJ understand my need to reach otJt ag<Jin so quickly.




Best,

Angie




From: Rachel Rogers
Sent: Saturday, September 19, 2015 1 :SO PM
To: Gleason, Angela
Subject: RE: reaching out




Perfect~           - rll see you at 2:15 in the lobby.

Best,

On Sep 18, 2015 3:06PM, "Gleason, Angela" < ~ n .. ~J. . gl easo n @ vale. e.d ~-:!_> wrote:


That so\mds greilt. Coulr:l you come to Dow HEIII'? I'll meet you in the lobby.




Best,

Angle




                                                                                                                      \..J!d_ I ( e,,_..
                                                                                                                                  -,;'({. t''>·<.,   7 J
                                                                                                                                                     L l
                      Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 5 of 8




From: Rachel Rogers
Sent: Friday, September 18,20151:17 PM
To: Gleason, Angela
Subject: Re: reaching out




Sure! Let's say 2:15 on Monday?




Rachel Rogers




                          Rachel Rogers
Mnny thank!.i,                       Todoy is quite busy for me, WOLlld you be <1ble to meet Monday after 2pm? If you'd like to meet
sooner, I'm available today from 2:1S-3pm.




Best,

Angie




From: Rachel Rogers
Sent: Thursday, September 17, 2015 11:45 AM
To: Gleason, Angela
Subject: Re: reaching out




Thanks for reaching out, Angie-- I'd love to meet and chat. I'm flexible as far as times and dates tJnd I'm looking forward
to talking.




Best,

Rachel Rogers




On Thu, Sep 17, 2015 at 10:48 AM, Gleason, Angela <angel~gl-•u s~p_yule.edu> wrote:

          Rachel Rogers
Dear
                Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 6 of 8




I'm the Title IX Coordinator for Yale College. A report has come to my attention that I would like to discuss with you, if
you are willing. The report involves unwanted sexual contact you might have experienced at an off-campus
event. Please don't feel pressured or rushed, I know that you may have anxiety about a conversCJtion and I want to
assure you that if we talk we will not need to discuss anything you do not wish to. Our tonv.ersatlon would mainly
involve making sure you know the resources available to you and the options and support we can provide, now or in the
future. You can email me or reach me at my office number below, or on my cell G09"S65-2102.




If you haven't done so already, I also encourage you to reach out to the SHARE Center at Yale, which is available for 24-
hr confidential support (2.03· '1J.2 2000).




Best,

Angie




Angela Gle<~son


Center for Language Study


Title IX Coordinator, Yale College

Ynle University




Rachel Rogers



Yale University   I   REDACTED




REDACTED
                Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 7 of 8




Rachel Rogers



Yale University    I REDACTED

REDACTED




Rachel Rogers



Yale Univer·sity   I REDACTED

REDACTED




Rachel Rogers



Yale University    I REDACTED

REDACTED




                                                                                "f Cli e~ CCf'('{)
                                                                                              s--z._(_i
                Case 3:16-cv-00885-AVC Document 157-19 Filed 07/18/18 Page 8 of 8




Rachel Rogers



Yale University I REDACTED


REDACTED




Rachel Rogers

Yc:de University   I   REDACTED


REDACTED
